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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE

 In re: Valsartan, Losartan, and Irbesartan
 Products Liability Litigation                                 MDL No. 2875

                                                               Honorable Robert B. Kugler,
 This document relates to:
                                                               District Court Judge
 Case No:                 -CV-
                Eric Cleghorn                                  Honorable Joel Schneider,
 Plaintiff 1:                                                  Magistrate Judge
                Heather Cleghorn
 Plaintiff 2:

 Plaintiff 3:

 Plaintiff 4:

                                                          SHORT FORM COMPLAINT

        Plaintiff(s) file(s) this Short Form Complaint and Demand for Jury Trial against Defendants named

below by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference the

allegations contained in Plaintiffs' Master Personal Injury Complaints for Valsartan (ECF No. 122),

Losartan (ECF No. 682), and Irbesartan (ECF No. 683), MDL 2875 in the United States District

Court for the District of New Jersey, Camden Vicinage. Plaintiff(s) file this Short Form

Complaint as permitted by Case Management Order Nos. 3, 9, 13, 13B, and 19 of this Court.

        In addition to those causes of action contained in Plaintiffs’ Master Long Form Complaints as

referenced       above,    where     certain     claims    require   specific   pleadings   and/or amendments,

Plaintiff(s) shall add and include them herein.

                                     IDENTIFICATION OF PARTIES
   I.        IDENTIFICATION OF PLAINTIFF(S)
             1. Name of individual who alleges injury due to use of a valsartan, losartan, and/or
                irbesartan-containing drug:
                                 Eric Cleghorn
                  Plaintiff 1:


                                 Heather Cleghorn
                  Plaintiff 2:

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           Plaintiff 3:


           Plaintiff 4:

        2. This claim is being brought on behalf of
                ✘ Myself

                    Someone else
               a. If I checked, “someone else”, this claim is being brought on behalf of:


               b. My relationship to the person in 2(a) is:




        3. Consortium Claim(s): The following individual(s) allege damages for loss of
           consortium:
           Heather Cleghorn




        4. County and state of residence of Plaintiff or place of death of Decedent:

           County: _________________________
                   Schoharie

           State: ________________
                  NY

        5. If a survival and/or wrongful death claim is asserted:
                 a. Name of the individual(s) bringing the claims on behalf of the
                   decedent’s estate, and status (i.e., personal representative,
                   administrator, next of kin, successor in interest, etc.):


                Name of the Individual(s)                         Status

            N/A                                    N/A




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  II.   IDENTIFICATION OF DEFENDANTS

        1. Plaintiff brings these claims as a result of developing injuries as a result of
           taking the following medications:

                    Medication(s) Taken (Check all that apply)

             ✘      Valsartan-Containing Drugs (VCDs)

                    Losartan-Contain Drugs (LCDs)

                     Irbesartan-Containing Drugs (ICDs)


        2. Plaintiff(s) bring claims against the following Defendants related to his or
           her ingestion of Valsartan:
            (*Defendants with asterisks next to their names have been dismissed pursuant to a
            dismissal and tolling stipulation entered by the Parties. By checking the box next to any
            asterisked Defendant(s), Plaintiff thereby represents that he or she would have brought an
            action against said Defendant(s) but for the dismissal and tolling stipulation.)


                       i.   API Manufacturers
        Defendant Role                            Defendant Name                            HQ States

    ✘   API Manufacturer                          Aurobindo Pharma, Ltd.                    Foreign

    ✘
        API Manufacturer Parent                   Hetero Drugs, Ltd.                        Foreign
        Corporation

    ✘   API Manufacturer                          Hetero Labs, Ltd.                         Foreign

    ✘   API Manufacturer                          Mylan Laboratories Ltd.                   Foreign

    ✘   API Manufacturer Parent                   Mylan N.V.                                Foreign
        Corporation

    ✘   API Manufacturer                          Zhejiang Huahai Pharmaceutical            Foreign
                                                  Co., Ltd.
    ✘   API Manufacturer                          John Doe                                   N/A




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                     ii.   Finished Dose Manufacturers
        Defendant Role                      Defendant Name                    HQ States

    ✘   Finished Dose Manufacturer          Arrow Pharm (Malta) Ltd.          Foreign

    ✘   Finished Dose Manufacturer          Aurolife Pharma, LLC              NJ

    ✘   Finished Dose Manufacturer          Hetero Labs, Ltd.                 Foreign

    ✘   Finished Dose Manufacturer          Mylan Pharmaceuticals Inc.        WV
                                            Teva Pharmaceutical Industries,
    ✘   Finished Dose Manufacturer                                            Foreign
                                            Ltd.
    ✘   Finished Dose Manufacturer          Torrent Pharmaceuticals, Ltd.     Foreign
        Finished Dose Manufacturer          Zhejiang Huahai Pharmaceutical    Foreign
    ✘
                                            Co., Ltd.
    ✘   Finished Dose Manufacturer          John Doe                          N/A




                   iii.    Repackagers, Labelers, and Distributors
        Defendant Role                      Defendant Name                    HQ States

    ✘   Labeler/ Distributor                Aceteris, LLC                     NJ

    ✘   Finished Dose Distributor           Actavis, LLC                      NJ

    ✘   Finished Dose Distributor           Actavis Pharma, Inc.              NJ

    ✘   Repackager                          A-S Medication Solutions, LLC*    NE
    ✘   Finished Product Distributor        Aurobindo Pharma USA, Inc.        NJ

    ✘   Repackager                          AvKARE, Inc.                      TN
    ✘   Repackager                          Bryant Ranch Prepack, Inc.*       PA
    ✘   Labeler/Distributor                 Camber Pharmaceuticals, Inc.      NJ
        Parent Company for The Harvard Cardinal Health, Inc.*                 OH
    ✘   Drug Group, L.L.C. d/b/a Major
        Pharmaceuticals




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        Repackager                         The Harvard Drug Group, LLC       MI
    ✘
                                           d/b/a Major Pharmaceuticals*

    ✘   Repackager                         H J Harkins Co., Inc.             CA
    ✘   API Distributor                    Huahai U.S. Inc.                  NJ

    ✘   Repackager                         Northwind Pharmaceuticals*        IN
    ✘   Repackager                         NuCare Pharmaceuticals, Inc.*     CA

    ✘   Repackager                         Preferred Pharmaceuticals, Inc.   CA

    ✘   Repackager                         RemedyRepack, Inc.                PA

    ✘   Finished Dose Distributor          Solco Healthcare U.S., LLC        NJ
    ✘   Finished Dose Distributor          Teva Pharmaceuticals USA, Inc.    PA

    ✘   Finished Dose Distributor          Torrent Pharma, Inc.              NJ

    ✘   Labeler/Distributor/Repackager John Doe                              N/A


                     iv.   Wholesaler Defendants

        Defendant Role                     Defendant Name                    HQ States
    ✘   Wholesaler                         AmerisourceBergen Corporation     PA
    ✘   Wholesaler                         Cardinal Health, Inc.             OH

    ✘   Wholesaler                         McKesson Corporation              TX
    ✘   Wholesaler                         John Doe                          N/A

                     v.    Pharmacies

        Defendant Role                     Defendant Name                    HQ States
        Pharmacy                           Albertsons Companies, LLC         ID

   ✘    Pharmacy                           CVS Pharmacy, Inc.                RI

        Pharmacy                           Express Scripts, Inc.             MO
        Pharmacy                           Humana Pharmacy, Inc.             KY
        Pharmacy                           OptumRx                           CA
   ✘    Pharmacy                           Rite Aid Corp.                    PA
   ✘    Pharmacy                           Walgreens Boots Alliance          IL
   ✘    Pharmacy                           Wal-Mart, Inc.                    AR
   ✘    Pharmacy                           John Doe                          N/A
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                     vi.     FDA Liaisons

        Defendant Role                            Defendant Name                            HQ States
   ✘    FDA Liaison                               Hetero USA, Inc.                          NJ
   ✘    FDA Liaison                               Prinston Pharmaceutical Inc.              NJ

   ✘    FDA Liaison                               John Doe                                  N/A

       3. Plaintiff(s) bring claims against the following Defendants related to his
          or her ingestion of Losartan.

          (*Defendants with asterisks next to their names have been dismissed pursuant to a
          dismissal and tolling stipulation entered by the Parties. By checking the box next to any
          asterisked Defendant(s), Plaintiff thereby represents that he or she would have brought an
          action against said Defendant(s) but for the dismissal and tolling stipulation.)

                     i.     API Manufacturers
        Defendant Role                           Defendant Name                             HQ States

       API Manufacturer                           Hetero Drugs, Ltd.                        Foreign
       Parent Corporation
        API Manufacturer                          Hetero Labs, Ltd.                         Foreign

        API Manufacturer                         Zhejiang Huahai Pharmaceutical             Foreign
                                                 Co., Ltd.

        API Manufacturer                         John Doe                                   N/A

                     ii.    Finished Dose Manufacturers
        Defendant Role                            Defendant Name                            HQ States

        Finished Dose Manufacturer                                                          Foreign
                                                  Hetero Labs, Ltd.

        Finished Dose Manufacturer                Macleods Pharmaceuticals, Ltd.            Foreign

        Finished Dose Manufacturer                Macleods Pharma USA, Inc.                 NJ

        Finished Dose Manufacturer                Sandoz, Inc.                              NJ

                                                  Teva Pharmaceutical Industries,           Foreign
        Finished Dose Manufacturer
                                                  Ltd.
        Finished Dose Manufacturer                Torrent Pharmaceuticals, Ltd.             Foreign

        Finished Dose Manufacturer                Vivimed Life Sciences Pvt. Ltd.           Foreign

        Finished Dose Manufacturer                Zhejiang Huahai Pharmaceutical            Foreign
                                                  Co., Ltd.
        Finished Dose Manufacturer                John Doe                                  N/A

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                  iii.   Repackagers, Labelers, and Distributors
        Defendant Role                    Defendant Name                      HQ States

        Finished Dose Distributor         Actavis, LLC                        NJ

        Finished Dose Distributor         Actavis Pharma, Inc.                NJ

        Repackager                        AvKARE, Inc.                        TN

       Labeler/Distributor            Camber Pharmaceuticals, Inc.            NJ
       Parent Company for The Harvard Cardinal Health, Inc.*                  OH
       Drug Group, L.L.C. d/b/a Major
       Pharmaceuticals

       Repackager                         Golden State Medical Supply, Inc.   CA
                                          (GSMS)
        Repackager                        The Harvard Drug Group, LLC         MI
                                          d/b/a Major Pharmaceuticals
        Repackager                        Heritage Pharmaceuticals, Inc.      NJ
                                          d/b/a Avet Pharmaceuticals
       Repackager                         H J Harkins Co., Inc. d/b/a         CA
                                          PharmaPac
       API Distributor                    Huahai U.S. Inc.                    NJ
       Repackager                         Legacy Pharmaceutical Packaging,    MO
                                          LLC
       Repackager                         Major Pharmaceuticals               MI

        Repackager                        Preferred Pharmaceuticals, Inc.     CA
        Repackager                        RemedyRepack, Inc.                  PA
        Finished Dose Distributor         Solco Healthcare U.S., LLC          NJ
       Finished Dose Distributor          Teva Pharmaceuticals USA, Inc.      PA

       Finished Dose Distributor          Torrent Pharma, Inc.                NJ

        Labeler/Distributor/Repackager John Doe                               N/A




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                     iv.    Wholesaler Defendants

        Defendant Role                            Defendant Name                            HQ States
        Wholesaler                                AmerisourceBergen Corporation             PA
        Wholesaler                                Cardinal Health, Inc.                     OH
        Wholesaler                                McKesson Corporation                      TX
        Wholesaler                                John Doe                                  N/A


                     v.     Pharmacies

        Defendant Role                            Defendant Name                            HQ States
        Pharmacy                                  Albertsons Companies, LLC                 ID

        Pharmacy                                  CVS Pharmacy, Inc.                        RI

        Pharmacy                                  Express Scripts, Inc.                     MO
        Pharmacy                                  Humana Pharmacy, Inc.                     KY
        Pharmacy                                  OptumRx                                   CA
        Pharmacy                                  Rite Aid Corp.                            PA
        Pharmacy                                  Walgreens Boots Alliance                  IL
        Pharmacy                                  Wal-Mart, Inc.                            AR
        Pharmacy                                  John Doe                                  N/A


                     vi.     FDA Liaisons

        Defendant Role                            Defendant Name                            HQ States
        FDA Liaison                               Hetero USA, Inc.                          NJ
        FDA Liaison                               Prinston Pharmaceutical Inc.              NJ

        FDA Liaison                               John Doe                                  N/A


        4. Plaintiff(s) bring claims against the following Defendants related to his
           or her ingestion of Irbesartan.
           (*Defendants with asterisks next to their names have been dismissed pursuant to a
           dismissal and tolling stipulation entered by the Parties. By checking the box next to any
           asterisked Defendant(s), Plaintiff thereby represents that he or she would have brought an
           action against said Defendant(s) but for the dismissal and tolling stipulation.)



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                     i.    API Manufacturers

       Defendant Role                       Defendant Name                   HQ States

       API Manufacturer                     Aurobindo Pharma, Ltd.           Foreign

       API Manufacturer                     Zhejiang Huahai Pharmaceutical   Foreign
                                            Co., Ltd.

       API Manufacturer                     John Doe                         N/A


                     ii.   Finished Dose Manufacturers
       Defendant Role                       Defendant Name                   HQ States

       Finished Dose Manufacturer           Aurolife Pharma, LLC             NJ

       Finished Dose Manufacturer           ScieGen Pharmaceuticals, Inc.,   NY
                                            U.S.

       Finished Dose Manufacturer           Zhejiang Huahai Pharmaceutical   Foreign
                                            Co., Ltd.
       Finished Dose Manufacturer           John Doe                         N/A



                    iii.   Repackagers, Labelers, and Distributors
       Defendant Role                       Defendant Name                   HQ States
        Repackager                          Golden State Medical Supply,     CA
                                            Inc. (GSMS)
       Finished Dose Distributor            Westminster Pharmaceuticals      TN

       Labeler/Distributor/Repackager John Doe                               N/A



                    iv.    Wholesaler Defendants

       Defendant Role                       Defendant Name                   HQ States
       Wholesaler                           AmerisourceBergen Corporation    PA
       Wholesaler                           Cardinal Health, Inc.            OH
       Wholesaler                           McKesson Corporation             TX
       Wholesaler                           John Doe                         N/A




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                         v.    Pharmacies
            Defendant Role                           Defendant Name                 HQ States
            Pharmacy                                 Albertsons Companies, LLC      ID

            Pharmacy                                 CVS Pharmacy, Inc.             RI

            Pharmacy                                 Express Scripts, Inc.          MO
            Pharmacy                                 Humana Pharmacy, Inc.          KY
            Pharmacy                                 OptumRx                        CA
            Pharmacy                                 Rite Aid Corp.                 PA
            Pharmacy                                 Walgreens Boots Alliance       IL
            Pharmacy                                 Wal-Mart, Inc.                 AR
            Pharmacy                                 John Doe                       N/A

                         vi.   FDA Liaisons
            Defendant Role                           Defendant Name                 HQ States
            FDA Liaison                              Prinston Pharmaceutical Inc.   NJ
            FDA Liaison                              John Doe                       N/A

   III.   JURISDICTION AND VENUE

          7. Jurisdiction is based on:
                 ✘ Diversity of Citizenship
                    Other as set forth below:




          8. Venue: District and Division in which remand and trial is proper and where you
             might have otherwise filed this Short Form Complaint, absent the Direct Filing
                                           Northern
             Order entered by this Court: ______________  District of ____________
                                                                      NY


   IV.    PLAINTIFF’S INJURIES

          9. Injuries: Plaintiff was diagnosed with the following type of cancer:

               Liver                                          Kidney

               Stomach                                        Colorectal

               Pancreatic                                     Esophageal
                                                                        Bladder
               Small Intestine                           ✘    Other:

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                                 CAUSES OF ACTION

         10. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long
             Form Complaints and Jury Demand as if fully set forth herein.

         11. The following claims and allegations asserted in the Master Long Form
             Complaint and Jury Demand are herein adopted by Plaintiff(s):


                        ✘ Count I:       Strict Liability – Manufacturing Defect
                        ✘ Count II:      Strict Liability – Failure to Warn
                        ✘ Count III:     Strict Liability – Design Defect
                        ✘ Count IV:      Negligence
                        ✘ Count V:       Negligence Per Se
                        ✘ Count VI:      Breach of Express Warranty
                        ✘ Count VII:     Breach of Implied Warranty
                        ✘ Count VIII:    Fraud
                        ✘ Count IX:      Negligent Misrepresentation
                        ✘ Count X:       Breach of Consumer Protection Statutes of the
                                         state(s) of:
                                         New York
                          Count XI:     Wrongful Death
                          Count XII: Survival Action
                        ✘ Count XIII: Loss of Consortium
                        ✘ Count XIV: Punitive Damages
                          Other State Law Causes of Action as Follows:




         12. Fraud Count: Plaintiff adopts, incorporates and relies upon the allegations made
             in the Master Complaint. Any additional Plaintiff-specific allegations as to the
             Fraud Count must be set forth here:




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         13. Express Warranty Count: Plaintiff adopts, incorporates, and relies upon the
            allegations made in the Master Complaint. Any additional Plaintiff-specific
            allegations as to the Express Warranty Count must be set forth here:




         14. Plaintiff(s) further bring claims against the following additional Defendants
             who are not listed above, and such claims are based upon the following
             grounds:
                  Defendant                                     Grounds




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               Defendant                             Grounds




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 WHEREFORE, Plaintiff(s) pray(s) for relief and demand(s) a trial by jury as set forth in the Plaintiffs’
 Master Long Form Complaint in MDL 2875 in the United States District Court for the District of
 New Jersey.


  4/1/2024
  __________________________________________
  Date

  /s/ Rosemarie Bogdan
  __________________________________
  /s/

  Rosemarie Bogdan
  _______________________________________________
  Attorney Name

  Harding Mazzotti, LLP
  _______________________________________________
  Attorney Firm

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 Counsel for Plaintiffs




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